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 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
12   JEFFREY TOLAND,                              Case No.: 2:21-cv-04797-AB-AGR
13                  Plaintiff,                    Hon. Andre Birotte, Jr.
14                                                Hon. Alicia G. Rosenberg
     v.
15                                                PLAINTIFF JEFFREY
     OFFICER ZACHARY MCFARLAND,
16   in his individual and official capacities;   TOLAND’S OPPOSITION TO
     OFFICER STEPHANIE LACK, in his               DEFENDANTS’ MOTION TO
17                                                DISMISS UNDER FRCP 12(b)(6)
     individual and official capacities;
18   PASADENA CITY ATTORNEY’S
19   OFFICE; JOHN NAM, in his individual          DATE: November 19, 2021
     and official capacities; DOES 1-10,          TIME: 10:00 a.m.
20   inclusive,                                   DEPT: 7B
21                 Defendants.
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28


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 1                                I.     INTRODUCTION
 2         Mr. Toland was prosecuted for resisting arrest and assaulting a police
 3   officer. His defense was that the officer used excessive force, unreasonably
 4   escalated the encounter, and then made false statements about what had happened.
 5   The claims at issue in the City’s Motion to Dismiss (Claims Five and Six) allege
 6   that the City withheld, suppressed, and denied the existence of extensive evidence
 7   in its possession, including at least 234 pages of reports and statements, relating to
 8   an incident one month prior to the Toland incident, in which the same police
 9   officer, Officer Zachary McFarland, had used excessive force, unreasonably
10   escalated an encounter, shot and killed a Pasadena resident, and then made false
11   statements about what had happened (“Warren Shooting,” “Warren Shooting
12   Materials”).
13         The City’s Motion never asserts, suggests, or argues that the withheld
14   Warren Shooting Materials do not meet the established Brady standard, see, e.g.,
15   United States v. Sedghaty, 728 F.3d 885, 899, of being favorable to the defendant
16   and material to the case. The City thus concedes that point, as it should.
17         Instead, the City’s Motion makes three related arguments. All three are “no
18   harm, no foul” variants. All three lack merit.
19         The first argument is: No harm, no foul, because the DA’s Justice
20   System Integrity Division office heard about the Warren shooting when
21   it happened. Motion 7.
22         The City argues that someone from the DA’s Justice System Integrity
23   Division (“JSID”) was probably alerted to the shooting the night it happened, and
24   therefore (the City argues) it was permitted to withhold all evidence of the shooting
25   and the investigation reports (which didn’t yet exist on the night of the shooting) in
26   the Toland case, because (it argues) presumably someone, somewhere in the 1000-
27   lawyer DA’s office knew that Officer McFarland had shot Mr. Warren. The City
28   cites no authority to support this novel and facially bizarre contention, and Mr.
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 1   Toland is aware of none.
 2         The second argument is: No harm, no foul, because we were permitted to
 3   withhold the materials except in response to a Pitchess motion, and even
 4   though we also withheld them in response to Mr. Toland’s Pitchess motion,
 5   the court had already received the whistleblower’s flash drive by then, and
 6   wouldn’t return it even though we tried to get it back. Motion 8-14.
 7         This argument, in short, is that even though the City tried everything in its
 8   power to keep the court, the prosecutor, and the defense from learning about the
 9   Warren shooting materials, the court got them anyway, so “harm, no foul.” The
10   argument fails at every step. The City argues that it was not obligated to disclose
11   the records in its Public Records Act request, was not obligated to affirmatively
12   produce them to the prosecution, and was not obligated to produce them in
13   response to a Penal Code 1054.1 motion. Rather, says the City, the only
14   procedural avenue in which it was obligated to produce the records was in response
15   to a Pitchess motion.
16         This argument lacks merit. First, the predicate assertion of confidentiality is
17   false: the records in question were not confidential as a matter of express statutory
18   law, and were not subject to the Pitchess procedures. Second, as the FAC alleges
19   and as the City does not and cannot deny, Mr. Toland made a Pitchess motion, and
20   the Superior Court granted it, and the City still withheld the materials from Mr.
21   Toland, the prosecution, and the Superior Court. The City waves that aside, and
22   says it doesn’t matter, because an unknown whistleblower provided the materials
23   to the Superior Court separately, and Mr. Toland got them eventually—despite the
24   City’s best efforts to prevent him from learning about them. Mr. Toland is not
25   exaggerating the argument: the City explicitly argues that the unauthorized leak of
26   the materials by an unknown whistleblower, to which the City responded by
27   sending its Chief Deputy City Attorney to court to tell the Superior Court that the
28   production was “inadvertent” and to demand that the Superior Court return the

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 1   flash drive, nonetheless constitutes “compliance” with its Brady obligations.
 2         The third argument is: No harm, no foul, because the DA dismissed the
 3   charges once she saw the Warren shooting materials, so Mr. Toland was not
 4   convicted. Motion 14-15.
 5         This argument (which Judge Pregerson of this Court called a “no harm, no
 6   foul” argument, and rejected, Gutierrez v. Solano, 862 F. Supp. 2d 1037, 1043
 7   (C.D. Cal. 2012)) asserts that Mr. Toland did not suffer any constitutionally
 8   cognizable harm because he was not convicted. However, the argument fails,
 9   because this exact argument has already been rejected by this Court, by the Ninth
10   Circuit, and by the United States Supreme Court, as set forth herein. See
11   McDonough v. Smith, 139 S.Ct. 2149 (2019), Haupt v. Dillard, 17 F.3d 285 (9th
12   Cir. 1994), Solano, 862 F. Supp. 2d 1037, discussed infra. The harm to a person of
13   being wrongly accused and prosecuted is real and constitutionally cognizable even
14   if the charges are ultimately dropped or the person is ultimately acquitted.
15         All the City’s arguments boil down to the assertion that Mr. Toland cannot
16   state a constitutionally cognizable claim because an unknown Police Department
17   employee gave the materials to the Superior Court in November 2020, Mr. Toland
18   got the materials in March 2021, and the case was dismissed in April 2021. The
19   City contends that it doesn’t matter that it tried to suppress the materials, that it
20   falsely claimed they didn’t exist, and that it withheld them from the Superior Court
21   in its own Pitchess production (the one context in which it claims it did have to
22   produce them). The City contends that it doesn’t matter that the whistleblowing
23   employee who sent the drive to the Superior Court judge was not authorized to do
24   so, or that the City told the Superior Court the disclosure was inadvertent, and tried
25   mightily to get the Court to return the flash drive and to prevent the defense and
26   prosecution from learning of it. None of that matters, says the City. Your charges
27   were dropped, your story had a happy ending, so you can’t sue. As set forth
28   herein, that argument is meritless. It’s like telling an excessive force victim that he

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 1   can’t sue over the illegal chokehold because the officer let him go before he died.
 2   That’s not the law. And as set forth herein, multiple courts, from this Court up to
 3   the Supreme Court have held that that’s not the law. A person who is wrongfully
 4   charged and prosecuted suffers constitutionally cognizable harm from the wrongful
 5   charge and prosecution. That harm doesn’t vanish when he’s acquitted or the
 6   charges are dropped. As the Ninth Circuit has expressly held in the identical
 7   procedural posture, the fact that he wasn’t convicted is relevant only to calculating
 8   his damages; it has nothing to do with the validity of the cause of action.
 9                                    II.   ARGUMENT
10       A. The City’s Claim that the Likely Presence of DA Personnel on the Scene
11         of the Warren Shooting, a Month Before the Toland Arrest, Satisfied
12         the City’s Brady Obligations in the Toland Case, Lacks Merit
13         At Motion 7:17-8:20, the City contends that if any personnel employed by
14   the DA’s office responded to the scene of the Warren shooting on or about May
15   17, 2019 (a month before the Toland incident), the presence of those personnel that
16   night somehow satisfied the prosecution’s Brady obligations in the Toland case.
17   This argument makes no sense. An investigative roll-out to the Warren shooting
18   on May 17, 2019 (by, presumably, personnel from the DA’s Justice System
19   Integrity Division (JSID))1 could not satisfy Brady obligations in a future
20   prosecution of Mr. Toland by the DA’s Pasadena branch office.
21         The argument lacks merit. It has three obvious defects. First, the
22   constitutional right is held by a defendant in a case; the corresponding obligation
23   runs to the prosecution team on that case, including the assigned law enforcement
24   agency. On May 17, 2019, Mr. Toland was not a defendant in a case; the Toland
25   case did not yet exist; Officer McFarland had never met Mr. Toland and wouldn’t
26   encounter him for another month. Yet the City asserts (without any authority
27
     1
28    Responding to officer involved shootings and prosecuting excessive force cases
     against officers is part of JSID’s function.
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 1   whatsoever) that the assumed fact that a prosecutor or investigator in JSID
 2   responded to the Warren shooting, and thereby may have learned that Officer
 3   McFarland had been the shooter, somehow satisfies the City of Pasadena’s Brady
 4   obligations to Mr. Toland.
 5         Second, the presumed JSID presence at the Warren shooting scene was part
 6   of (as the City knows and acknowledges) a potential criminal investigation of
 7   Officer McFarland. That is JSID’s function, and that is the reason why its
 8   personnel typically are called out to and/or informed of officer-involved shootings.
 9         The City’s argument appears to be an attempt to turn the “imputed
10   knowledge” Brady standard on its head. Well-established Brady caselaw provides
11   that if investigators or police officers know a fact or have a piece of evidence, but
12   the prosecutor herself is unaware of, that’s not a defense to a Brady claim:
13   knowledge held by any part of the “prosecution team” is imputed to the whole, and
14   therefore must be produced if it meets the materiality threshold.
15         The City appears to now be suggesting that if any employee of the entire
16   prosecuting agency of over 1000 lawyers (not just the prosecution team) was aware
17   of a fact, then the City is free to subsequently withhold that fact from the actual
18   prosecutor and prosecution team on the actual case in which it’s relevant. This
19   cannot be the law, and the City offers no authority of any kind to support the claim.
20   Indeed, cases making reference to the “prosecution team” for Brady purposes refer
21   to the prosecutors and investigators working on a particular case. See, e.g., United
22   States v. Sells Engineering, Inc., 463 U.S. 418, 429 fn. 11 (1983) (construing Fed.
23   R. Crim Proc. 6 as limiting access to grand jury materials to the “prosecution
24   team,” and defining that group as the prosecutors “working on a given
25   prosecution,” and rejecting the suggestion that the Rule might allow “Justice
26   Department attorneys not working on a prosecution” in a particular case to have
27   access to grand jury materials in that case) (emphasis in original); Raminder Kaur
28   v. Maryland, 141 S. Ct. 5 (2020) (Sotomayor, J., concurring with denial of

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 1   certiorari) (referring to “prosecution team” as “the prosecutors who had personally
 2   reviewed” the case file); United States v. Meros, 866 F.2d 1304, 1309 (11th Cir.
 3   1989); Akrawi v. Booker, 572 F.3d 252, 263 (6th Cir. 2009). No authority of
 4   which Mr. Toland is aware has ever suggested that every single attorney employed
 5   by a prosecuting agency is equally constitutive of the “prosecution team” for every
 6   single case brought by the agency.
 7         Third, the City forgets that the exculpatory utility of the withheld materials
 8   was more than just the fact that Officer McFarland had been the shooter. It was
 9   also the fact that he made false statements to investigators about what happened.
10   Those statements are documented in the reports the City possessed, to wit:
11   McFarland told investigators he’d fired “one or two” or “two or three shots,” but
12   when they examined his gun, they found that he’d fired eight times. McFarland
13   told investigators that he could clearly see Mr. Warren pointing a gun at him, but
14   the body-worn camera video reveals that the other three officers who were
15   standing right next to McFarland at the time never made any such observations.
16   Indeed, one of them contradicted McFarland when he said Warren was pointing a
17   gun, and the supervising officer on scene told McFarland to keep talking to Mr.
18   Warren, but McFarland ignored the command, said “I’m taking him out” to
19   himself under his breath, then killed Mr. Warren from across the street. See FAC
20   ¶¶ 19-21.
21         Therefore, the reports themselves—the 234 pages of witness interviews and
22   other records—are impeaching, separate and apart from the mere fact that the
23   shooting had occurred. And those reports had not yet been written on the night of
24   May 17, 2019, when JSID personnel presumably rolled out to the scene. What we
25   do know is that those 234 pages were in the possession of the City in October
26   2019, when the City affirmatively lied and said it had nothing; and that the City
27   withheld those 234 pages from the prosecutor, the defense, and the Superior Court.
28   See FAC ¶ 93-98.

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 1       B. The City’s Assertion that It Had A Legal Basis for Withholding the
 2          Warren Shooting Materials Is Wrong
 3          The City’s argument at Section B, Motion 8-9, is difficult to parse. It
 4   appears the City is claiming that it was entitled to withhold the information about
 5   the Warren shooting from every inquiry other than a Pitchess motion. This
 6   argument lacks merit.
 7          First, the Pitchess procedures, codified at Penal Code section 832.7 and
 8   Evidence Code sections 1043 ff., apply only to confidential records, and beginning
 9   January 1, 2019—five months prior to the Warren shooting—all records relating to
10   an officer’s shooting at a person or using force causing serious injury or death
11   became, as a matter of law, non-confidential. The Court of Appeal has held clearly
12   and expressly that all such materials are no longer subject to or part of the Pitchess
13   procedures. Becerra v. Superior Court, 44 Cal. App. 5th 897, 914-20, 934 (2020)
14   (explaining history of Pitchess procedures, caselaw and statutes, history and
15   purposes of 2019 amendments to section 832.7, and holding that the January 1,
16   2019 amendments to section 832.7(b)(1) mean what they say, and that records
17   specified therein, inter alia of shootings and uses of force causing serious injury,
18   are not confidential). The City’s claim that it had a right to withhold the Warren
19   shooting materials from all requests other than a Pitchess motion is false.
20   Moreover, it is implausible, if not impossible, that any decision-making official in
21   the City Attorney’s Office or the Pasadena Police Department was unaware, in the
22   summer and fall of 2019, of the amendments to section 832.7 that took effect on
23   January 1, 2019. The bill was one of the most hotly-debated topics in the criminal
24   justice community in the year before its passage, and hundreds of advocacy groups
25   lobbied for or against the bill, including every major law-enforcement organization
26   in the state.2
27
     2
28    See, e.g., Senate Rules Committee, SB 1421 Floor Analysis,
     https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=20172018
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 1         As the Court (and the City) are aware, the Pitchess framework (Evidence
 2   Code section 1043 ff.) exists solely and expressly for the purpose of dealing with
 3   material in officers’ personnel files that is confidential under section 832.7. See,
 4   e.g., City of Santa Cruz v. Mun. Ct., 49 Cal. 3d 74, 81–82 (1989).3 If materials are
 5   not confidential under section 832.7, then they are not covered by Pitchess. And
 6   the Warren shooting materials are explicitly not confidential under section 832.7,
 7   because they pertained to a shooting by Officer McFarland, that resulted in death
 8   or serious injury. Section 832.7 provides that the following categories of materials
 9   “shall not be confidential”:
10         a record relating to the report, investigation, or findings in any of the
11         following: an incident involving the discharge of a firearm at a person
           by a peace officer or custodial officer; an incident in which the use of
12
           force by a peace officer or custodial officer against a person resulted
13         in death, or in great bodily injury.
14
     Penal Code sec. 832.7(b)(1)(A).
15
           As a matter of law, all records relating to the Warren shooting were not
16
     confidential, under the amendments to section 832.7 that took effect on January 1,
17
     2019, five months before the Warren shooting, six months before Mr. Toland’s
18
     arrest, and nine months before Mr. Toland’s PRA request. Because the materials
19
20
21   0SB1421 (listing over 150 groups that had expressed support or opposition; the 14
     listed law enforcement groups were all opposed)
22           3
               “In 1978, the California Legislature codified the privileges and procedures
23   surrounding what had come to be known as “Pitchess motions” (after our decision
     in Pitchess v. Superior Court (1974) 11 Cal.3d 531, 113 Cal.Rptr. 897, 522 P.2d
24   305) through the enactment of Penal Code sections 832.7 and 832.83 and Evidence
25   Code sections 1043 through 1045.4 The Penal Code provisions define “personnel
26   records” (Pen.Code, § 832.8) and provide that such records are “confidential” and
     subject to discovery only pursuant to the procedures set forth in the Evidence
27   Code. (Pen.Code, § 832.7.) Evidence Code sections 1043 and 1045 set out the
28   procedures for discovery in detail.”

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 1   were not confidential, they could not simply be withheld. They could only be
 2   temporarily withheld if (a) there was an active criminal or administrative
 3   investigation into Officer McFarland’s shooting of Mr. Warren, and (b) the City
 4   provided a written explanation for the basis of the withholding. The records could
 5   not be silently withheld, and the City could not lie and say they didn’t exist.
 6   Section 832.7 is crystal clear on that point:
 7                During an active criminal investigation, disclosure may be
 8         delayed for up to 60 days from the date the use of force occurred or
           until the district attorney determines whether to file criminal charges
 9
           related to the use of force, which occurs sooner. If an agency delays
10         disclosure pursuant to this clause, the agency shall provide, in
11         writing, the specific basis for the agency’s determination that the
12         interest in delaying disclosure clearly outweigh the public interest in
13         disclosure. This writing shall include the estimated date for disclosure
           of the withheld information.
14
                  After 60 days from the use of force, the agency may continue to
15         delay the disclosure of records or information if the disclosure could
16         reasonably be expected to interfere with a criminal enforcement
17         proceeding against an officer who used the force. If an agency delays
           disclosure pursuant to this clause, the agency shall, at 180 day
18
           intervals as necessary, provide, in writing, the specific basis for the
19         agency’s determination that disclosure could reasonably be expected
20         to interfere with a criminal enforcement proceeding. The writing shall
21         include the estimated date for the disclosure of the withheld
           information. Information withheld by the agency shall be disclosed
22
           when the specific basis for withholding is resolved, when the
23
           investigation or proceeding is no longer active, or by no later than 18
24         months after the date of the incident, whichever occurs sooner.
25   Penal Code section 832.7(b)(7)(A) (emphasis added).
26         Because the Warren shooting materials were not confidential, pursuant to the
27   clear and explicit black-letter law of Penal Code section 832.7, the City had no
28   legal basis to withhold them from discovery production or from the prosecution by
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 1   claiming that they were “Pitchess materials.” They were not Pitchess materials,
 2   because only confidential materials under section 832.7 are Pitchess materials, and
 3   the Warren shooting materials were not confidential.
 4            Second, the City’s Pitchess arguments are hollow if not disingenuous,
 5   because the City also withheld the information from its Pitchess production to the
 6   Superior Court. As the FAC alleges and the City does not dispute, the City
 7   withheld the Warren shooting materials from its in camera production to the
 8   Superior Court, when the Superior Court granted Mr. Toland’s Pitchess motion
 9   and ordered the City to produce Officer McFarland’s file. The City’s subsequent
10   Pitchess disclosure to the defense included literally nothing about Officer
11   McFarland. There are only two explanations for the City’s failure to provide the
12   materials to the Superior Court: either the materials were in Officer McFarland’s
13   file, but someone removed them prior to making the production to the Superior
14   Court; or the materials were not being kept in Officer McFarland’s personnel file
15   in the first place. If the former is true, then the City’s entire line of argument about
16   Pitchess being the proper framework for production simply demonstrates the
17   City’s culpability; if the latter is true, then the City’s Pitchess arguments are made
18   in bad faith, because the City would not have (as it in fact did not) produce the
19   materials in response to the Pitchess motion either.
20            The City’s actions and arguments suggest a carefully calibrated bait-and-
21   switch strategy: falsely assert the non-existence of any records in response to the
22   PRA request; withhold the Warren shooting materials from the prosecution despite
23   the Penal Code 1054.1 request and the court’s granting of the defense’s motion to
24   compel, on the grounds that “they’re Pitchess materials” (in defiance of section
25   832.7); and then, in the face of an actual granted Pitchess motion, withhold them
26   again.
27            In other words, the City’s failure to produce the records to the Superior
28   Court in response to its granting of the defense’s Pitchess motion exposes as

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 1   hollow the City’s entire argument that it had no prior obligation (under Brady,
 2   1054.1, or 832.7) to produce the materials. If they were Pitchess materials, then it
 3   had to produce them in response to the Pitchess motion; if they weren’t Pitchess
 4   materials, then it had to produce them in response to the PRA, in response to the
 5   1054.1 request, and in response to the court’s order compelling production. But
 6   these are not hypotheticals. We know what the law was and we know what the
 7   facts were. The law (section 832.7(b)(1)) was that they were not Pitchess
 8   materials; and the facts were that the City withheld them not just from its PRA and
 9   1054.1 productions, but also from its Pitchess production. The City was not
10   operating in good faith; it was simply trying to hide from Mr. Toland, the
11   prosecution, and the Superior Court, the fact that Officer McFarland had shot and
12   killed Daniel Warren, and then made false statements about it.
13            Taking the City’s arguments in the Motion in the very best light for the City,
14   they boil down to this: even though we withheld the documents, and if it that was
15   wrongful, none of that matters because the whistleblower sent the flash drive to the
16   Court.
17            Such an argument lacks merit legally, morally, and as a matter of common
18   sense. At the end of the day, the fact is that the City deliberately, and with great
19   effort, tried to prevent the prosecution, the defense, and the Superior Court from
20   learning about Officer McFarland’s killing of Daniel Warren on May 17, 2019, and
21   it did so in order to procure Mr. Toland’s criminal conviction on felony charges
22   while keeping Officer McFarland’s history hidden. The City’s claim that none of
23   that matters because the Superior Court accidentally got the materials despite the
24   City’s efforts is akin to arguing that a victim of a wrongful police shooting would
25   have no claim if the gun misfired or the officer had bad aim.
26      C. The Public Records Act Request Response Is Probative of and Partly
27            Constitutive of the Deliberate Violation
28            The City concedes that it falsely denied, in its Public Records Act request,

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 1   that any documents relating a shooting or serious use of force by Officer
 2   McFarland existed. It even attaches the document. City’s Request for Judicial
 3   Notice, ECF Doc. 36, Ex. C (City’s PRA Response, including the affirmative false
 4   statement that the Department “has no records that are responsive to your
 5   request.”) It then claims this deliberate falsehood is irrelevant. Its arguments lack
 6   merit.
 7            1. The Affirmative Falsehood in the City’s Section 832.7 Response Was
 8               Illegal and Demonstrated the City’s Intent to Hide the Information
 9            The relevance of the false PRA response is twofold. First, it demonstrates
10   the City’s scienter, insofar as the City did the same thing to the Superior Court—it
11   withheld from its in camera Pitchess production to the Superior Court all the
12   Warren-related materials. The fact that it had previously affirmatively
13   misrepresented the non-existence of those materials in its PRA response, in direct
14   violation of section 832.7 is strong evidence that the withholding of the materials
15   from the Superior Court was not an accident.
16            Secondly, and more significantly, it prejudiced Mr. Toland’s defense in the
17   manner the Supreme Court acknowledged in Bagley: by affirmatively stating that
18   no records existed regarding any serious use of force or shooting by Officer
19   McFarland (as opposed to stating that it was withholding records due to a pending
20   investigation), the City affirmatively misled the defense as to the existence of the
21   records and thus as to the nature of potential discovery in the case. The Supreme
22   Court in Bagley explained the significance of an affirmative denial of the existence
23   of evidence as follows:
24            The Government notes that an incomplete response to a specific
25            request not only deprives the defense of certain evidence, but also has
              the effect of representing to the defense that the evidence does not
26
              exist. In reliance on this misleading representation, the defense might
27            abandon lines of independent investigation, defenses, or trial
28            strategies that it otherwise would have pursued. We agree that the
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 1         prosecutor's failure to respond fully to a Brady request may impair the
 2         adversary process in this manner.
     United States v. Bagley, 473 U.S. 667, 682–83 (1985) (internal citation omitted).
 3
     The City’s initial false statement, on October 11, 2019, that it had no documents
 4
     related to a McFarland shooting or use of force, when it actually had at least 234
 5
     pages of precisely that, is exactly what the Bagley Court is describing.
 6
           2. Section 832.7’s Withholding Provisions Require a Written Response
 7
               Acknowledging the Existence of the Material and Stating the Reason
 8
               for the Withholding—Instead, the City Falsely Stated that No
 9
               Documents Existed
10
           The City cannot and does not deny that it blatantly violated section 832.7 by
11
     denying that it was in possession of responsive documents in its response to
12
     defense counsel’s PRA request. It claims that the statute would have permitted it
13
     to “withhold” the materials related to the Warren shooting. The statute does
14
     indeed permit withholding—if the City provides a written response acknowledging
15
     the existence of the materials, expressly stating that they are being withheld
16
     because of a pending criminal investigation into the officer, and providing written
17
     updates every 60 days. The City did not do those things; it did not comply with
18
     section 832.7. Instead, it responded with a deliberate affirmative falsehood, and
19
     said it did not possess any responsive records. FAC ¶ 98. If the City had complied
20
     with the law and provided an accurate and legally-mandated response, Mr. Toland
21
     as well as the prosecution would have been put on notice of the existence of
22
     potentially discoverable materials and been able to pursue them through the
23
     Superior Court. That is the purpose of the “disclose but withhold” provision.
24
     There is nothing in the statute that gives the City the license to lie and deny the
25
     existence of records of an officer fatally shooting a citizen. Nothing whatsoever.
26
     The City’s “license to lie” argument is deeply cynical and contrary to section
27
     832.7, and most importantly, to the very principle of due process.
28

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 1         3. Citizens Act Through Their Lawyers
 2         The City suggests that its affirmatively false statement in response to the
 3   PRA request served by Mr. Toland’s defense counsel is irrelevant, because Mr.
 4   Toland’s lawyer served the request, not Mr. Toland personally. Motion 11:23-
 5   12:11. That suggestion lacks merit. Mr. Toland didn’t say anything in court,
 6   either; he spoke through his lawyer, as he is doing in this briefing, and as every
 7   represented litigant does in every legal proceeding. The City’s suggestion that it is
 8   impossible to violate a criminal defendant’s rights by lying to his lawyer lacks
 9   merit, and requires no further analysis. More importantly, the City’s claim that Mr.
10   Toland would not have standing to file a state-court civil action demanding a
11   responsive PRA production is irrelevant here; what is relevant here is that the City
12   lied about the existence of records relating to Officer McFarland’s shooting and
13   killing a Pasadena resident, and that lie manifestly prejudiced Mr. Toland, as set
14   forth above.
15      D. The Whistleblower Sending the Flash Drive to the Superior Court Was
16         Not an Act of Compliance by the City; Therefore the City Cannot Claim
17         Compliance Based on an Act It Did Not Authorize and Tried to Prevent
18         The City cannot colorably claim that the unauthorized act of an unidentified
19   whistleblower—an act that it did not direct or condone—constitutes compliance
20   with its constitutional obligations. The impropriety of the claim is particularly
21   stark given that after the whistleblower’s disclosure, the City immediately used all
22   its resources, including sending its Chief Deputy to court to attempt, repeatedly
23   and vociferously, over a period of five months, to persuade the Superior Court to
24   give back the flash drive and not disclose it to the prosecutor or defense, and where
25   the City argued that the inclusion of the materials regarding the Warren shooting
26   was “inadvertent.”
27         The City should not be permitted to go into Superior Court and tell a state
28   judge: “That flash drive you received was inadvertently produced; we didn’t intend

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 1   to give it to you; you shouldn’t have it; we want it back; don’t show it to the
 2   prosecutor or defense,” and then turn around in Federal Court and tell a federal
 3   judge: “We fully complied with our Brady obligations by producing that flash
 4   drive to the Superior Court.”
 5         The entire gravamen of the claims for relief at issue in the Motion is that Mr.
 6   Toland did not obtain the materials because “the City” produced them. “The City”
 7   did not produce them—it denied their existence, withheld them from the
 8   prosecution, withheld them from the Court (even in the face of a granted Pitchess
 9   motion). The materials were sent to the Court on a thumb drive by an unknown
10   whistleblower in the Police Department who the Superior Court believed did not
11   agree with the City’s suppression efforts. The City told the Superior Court that the
12   production of the flash drive was “inadvertent,” and demanded its return. The City
13   has not taken a position before this Court whether the act of sending the flash drive
14   to the Superior Court was “inadvertent” or that of a whistleblower, but one thing is
15   undisputed and indisputable: it was not the voluntary act of the City itself. The
16   City itself made that abundantly clear, telling the Superior Court: we didn’t want to
17   give you this; we don’t want you to have it; we want it back.
18         The City cannot now claim that a disclosure that it deliberately refused to
19   make for 18 months, that was made against its wishes, either accidentally or to
20   blow the whistle, and that it immediately tried to undo, constitutes “compliance”
21   with Brady so as to satisfy its constitutional obligations. Suppose a thief steals a
22   diamond necklace from a museum, and keeps it hidden in his lair while the
23   museum suffers reputational harms and expends significant resources trying to
24   recover the necklace. Then, after 18 months, one of the thief’s assistants suffers a
25   pang of conscience and anonymously sends the necklace back to the museum. The
26   thief indignantly storms into the museum, demands that the curators give him back
27   the necklace, and insists that they have no right to it. The matter is litigated and
28   the thief is charged. Could he really argue “no harm, no foul” in his defense?

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 1         It is false and disingenuous to argue that “the City” produced the Warren
 2   materials. “The City” did not do so. “The City” did the opposite. “The City” sent
 3   its Chief Deputy City Attorney to expressly tell the Superior Court that “the City”
 4   had not produced the flash drive, that it had been “inadvertently” given to the
 5   Court, and that “the City” wanted it back. It is a legal theory of great chutzpah for
 6   the City to go to one court and deny that the production was the City’s act and
 7   demand the flash drive be returned, and then go to another court and say “Look, we
 8   produced the drive, so we complied with Brady!”
 9         The City offers no caselaw addressing its contention that it can claim
10   “compliance” based on an act that it expressly disavowed, and declared, in open
11   court, to have been inadvertent and unauthorized. See FAC ¶ 104. Mr. Toland
12   believes that principles of judicial estoppel are controlling in this scenario: the City
13   should be foreclosed from taking one position in one court, and a contrary position
14   in another court. See, e.g., Hamilton v. State Farm Fire & Cas. Co., 270 F.3d 778,
15   782 (9th Cir. 2001) (“Judicial estoppel is an equitable doctrine that precludes a
16   party from gaining an advantage by asserting one position, and then later seeking
17   an advantage by taking a clearly inconsistent position…. The application of
18   judicial estoppel is not limited to bar the assertion of inconsistent positions in the
19   same litigation, but is also appropriate to bar litigants from making incompatible
20   statements in two different cases.”).
21      E. Plaintiff Suffered Significant and Cognizable Constitutional Harm
22         The City’s contention here, Motion 14:7-15:13, appears to be that there is
23   simply no cognizable constitutional harm in being wrongfully accused of and
24   prosecuted for felony offenses for two years because of the failure to disclose
25   Brady evidence—so long as you get it eventually, before trial. That is what the
26   City says. However, none of the cases it cites actually supports that claim. All the
27   cases the City cites involve criminal convictions. In each of the cited cases, a
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 1   criminal defendant was convicted, then argued in a subsequent proceeding that the
 2   prosecution had withheld Brady evidence.4
 3         None of the City’s cited cases involve a prosecution that was dismissed pre-
 4   trial, or that resulted in an acquittal. None of the City’s cases, thus, addresses the
 5   scenario of a section 1983 claim following a dismissal or acquittal. Still less do
 6   they establish, or even support, the proposition the City is asserting, viz., that a
 7   criminal conviction is a necessary prerequisite for a section 1983 claim based on
 8   suppression of Brady evidence. What the City would need to make out its
 9   argument would be a governing precedent that says that a person who is
10   wrongfully accused, charged, and prosecuted does not suffer any cognizable injury
11   so long as he is not ultimately convicted. But no such governing precedent exists.
12         Indeed, the controlling law is the opposite. Where state actors use their
13   official status and powers to deprive a person of his or her rights, that person states
14   a claim under section 1983, regardless of whether the officials’ bad acts led to a
15   criminal conviction. The Ninth Circuit has so held, clearly and unequivocally, in
16   Haupt v. Dillard, 17 F.3d 285, 287 (9th Cir. 1994). In Haupt, a police officer
17   improperly contacted the judge the night before the judge instructed the jury,
18   demanding that the judge not give a particular instruction. The judge was
19   intimidated, and altered the jury instructions to remove that instruction. However,
20
     4
21     Taking them in order beginning at Motion 14:13: Gantt v. Roe, 389 F.3d 908 (9th
     Cir. 2004) (granting habeas petition and vacating conviction); Tennison v. City and
22   Cty of San Francisco, 570 F.3d 1078 (9th Cir. 2009) (affirming district court’s
23   denial of qualified immunity to detectives in section 1983 suit following
     defendant’s conviction and subsequent exoneration); United States v. Davenport,
24   753 F.2d 1460 (9th Cir. 1985) (reversing conviction); United States v.
25   Scarborough, 128 F.3d 1373 (10th Cir. 1997) (affirming conviction); United States
26   v. Anderson, 391 F.3d 970 (9th Cir. 2004) (reversing conviction in part and
     affirming in part); United States v. Gamez-Orduno, 235 F.3d 453 (9th Cir. 2000)
27   (reversing conviction in part and affirming in part); United States v. Alvarez, 86
28   F.3d 901 (9th Cir. 1996) (affirming conviction); United States v. Manning, 56 F.3d
     1188 (9th Cir. 1995) (affirming conviction).
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 1   the defendant was acquitted in any event. The judge subsequently disclosed the
 2   communication, and the defendant sued under section 1983. The city made the
 3   exact same 12(b)(6) argument the City tries here, arguing “no harm, no foul,” and
 4   asserting that there’s no cognizable constitutional harm if the defendant is not
 5   convicted. The Ninth Circuit emphatically rejected that argument, affirming the
 6   propriety of the claim and explaining: “The fact that Haupt ultimately was
 7   acquitted speaks only to the amount of damages he suffered; it is irrelevant to
 8   whether he has a cause of action.” Haupt, 17 F.3d at 287 (reversing district court
 9   and reinstating section 1983 claim based on improper communications between
10   police officer and judge, where district court had ruled (just as the City argues
11   here) that the claim must be dismissed because the defendant’s acquittal meant that
12   that no constitutional harm had occurred). Haupt is controlling precedential
13   authority. The City does not cite or acknowledge Haupt.
14         More recently, Judge Pregerson of this Court reached the exact same
15   conclusion, in rejecting the exact same “no-harm, no-foul” argument in the exact
16   same factual and procedural posture presented here:
17         Here, in particular, Plaintiff alleges that he spent time in pretrial
18         custody, then suffered the costs imposed by a full criminal trial
           threatening additional incarceration. When such a loss of liberty is
19
           caused by the government's suppression of exculpatory evidence, it
20         may violate the Constitution. And the government cannot claim “no
21         harm, no foul” because of the fortuitousness of defendant's ultimate
22         acquittal. For all these reasons, the court finds that Plaintiff has a
23         potential Section 1983 claim for Brady or Brady-type violations of his
           due process rights.
24
     Gutierrez v. Solano, 862 F. Supp. 2d 1037, 1043 (C.D. Cal. 2012) (denying motion
25
     to dismiss section 1983 claim based on Brady violation where plaintiff was
26
     acquitted in underlying criminal case).
27
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 1         And finally, in McDonough v. Smith, 139 S. Ct. 2149 (2019), the Supreme
 2   Court upheld the validity of a section 1983 claim (for fabrication of evidence by
 3   officers, just as is alleged in this case) where the defendant was acquitted. The
 4   Supreme Court reversed the Second Circuit’s order affirming the district court’s
 5   granting of the municipal defendant’s 12(b)(6) motion, expressly recognized the
 6   validity of a section 1983 claim for presenting false evidence even where there was
 7   no conviction, and expressly recognized that being prosecuted subjects an
 8   individual to “restraints not shared by the public generally” and thus constitutes a
 9   constitutionally cognizable harm. McDonough v. Smith, 139 S. Ct. 2149, 2156, fn.
10   4 (2019).
11         The City does not cite or acknowledge McDonough, Solano, or Haupt. Mr.
12   Toland expects the City to explain in its Reply brief its failure to acknowledge
13   McDonough by arguing that McDonough is about the statute of limitations for
14   section 1983 cases, not specifically about whether a section 1983 claim for
15   evidence-related misconduct requires a conviction. Such an argument neglects,
16   however, the fact that the holding of the case is that the section 1983 statute of
17   limitations begins running at the time of acquittal: “the statute of limitations for a
18   fabricated-evidence claim like McDonough’s does not begin to run until the
19   criminal proceedings against the defendant (i.e., the § 1983 plaintiff) have
20   terminated in his favor.” Id. at p. 2154-55. Obviously that could not be the
21   holding if “termination in his favor” vitiated the section 1983 claim entirely, as the
22   City argues. McDonough is dispositive authority, if any more were required, that
23   conviction is not a prerequisite for a section 1983 claim; that a person who is
24   prosecuted based on alleged illegal acts by state actors may indeed properly bring a
25   section 1983 claim against those state actors even if he is acquitted. Here, the fact
26   that the charges against Mr. Toland were ultimately dismissed “is irrelevant to
27   whether he has a cause of action.” Haupt, 17 F.3d at 287.
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 1                                III. CONCLUSION
 2        For the foregoing reasons, the Motion should be denied.
 3
 4   DATED: October 29, 2021             Respectfully submitted,
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                            By:
 6
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